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                                                            USDC SDNY
UNITED STATES DISTRICT COURT                                DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                               ELECTRONICALLY FILED
                                                            DOC #:
 ELTON MIHALI,                                              DATE FILED: 10/27/2020
                            Plaintiff,
                                                                  20-cv-5634 (MKV)
                     -against-
                                                               ORDER OF DISMISSAL
 SIGNATURE BLACK CAR LLC et al.,

                            Defendants.

MARY KAY VYSKOCIL, United States District Judge:

       The Court is in receipt of a letter from the parties, dated October 22, 2020, informing the

Court that the parties have reached a settlement in principle [ECF #28]. Accordingly, IT IS

HEREBY ORDERED that the above-captioned action is discontinued without costs to any party

and without prejudice to restoring the action to this Court’s calendar if the application to restore

the action is made by November 30, 2020. If no such application is made by that date, today’s

dismissal of the action is with prejudice. See Muze, Inc. v. Digital On Demand, Inc., 356 F.3d

492, 494 n.1 (2d Cir. 2004). All other dates and deadlines are adjourned.




SO ORDERED.
                                                      _________________________________
Date: October 27, 2020                                MARY KAY VYSKOCIL
      New York, NY                                    United States District Judge
